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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Research and Writing Attorney
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700

 5   Attorney for Defendant
     MUZDHA KHALIL
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )      NO. CR.S-09-258-GEB
11                                   )
                 Plaintiff,          )
12                                   )      STIPULATION AND [PROPOSED] ORDER;
       v.                            )      CONTINUING STATUS CONFERENCE FOR
13                                   )      MUZDHA KHALIL
     MUZDHA KHALIL, et al.,          )
14                                   )      Date: October 19, 2012
                 Defendants.         )      Time: 9:00 a.m.
15   _______________________________ )      Judge: Hon. Garland E. Burrell, Jr.

16        IT IS HEREBY STIPULATED by and between the parties hereto through
17   their respective counsel, Assistant United States Attorney STEVEN
18   LAPHAM, and Research and Writing Attorney, RACHELLE BARBOUR, attorney
19   for MUZDHA KHALIL, that the status conference set for September 21,
20   2012 for Ms. Khalil be rescheduled to October 19, 2012, at 9:00 a.m.
21          Defense counsel has recently received this case from Assistant
22   Federal Defender Caro Marks, who has retired from our office.            The
23   government has referred Ms. Khalil’s case to the Pretrial Services
24   Office for the preparation of a pretrial diversion report.             Pretrial
25   Services requires time to complete its investigation and provide the
26   report to the parties.     It is anticipated that the parties will resolve
27
28   Khalil - Stip. & Order
              Case 2:09-cr-00258-GEB Document 120 Filed 09/19/12 Page 2 of 3


 1   the case through a term of pretrial diversion.
 2        Based upon the foregoing, the parties agree that the time under
 3   the Speedy Trial Act should be excluded from the date of signing of
 4   this order through and including October 19, 2012 pursuant to 18 U.S.C.
 5   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
 6   T4 based upon continuity of counsel and defense preparation.
 7
     DATED:     September 18, 2012        Respectfully submitted,
 8
                                          DANIEL J. BRODERICK
 9                                        Federal Public Defender
10
                                          /s/ Rachelle Barbour
11                                        RACHELLE BARBOUR
                                          Designated Counsel for Service
12                                        Attorney for MUZDHA KHALIL
13
     DATED:     September 18, 2012        BENJAMIN WAGNER
14                                        United States Attorney
15
                                          /s/ Rachelle Barbour for
16                                        STEVEN LAPHAM
                                          Assistant U.S. Attorney
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18   //
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     Khalil - Stip. & Order                     2
              Case 2:09-cr-00258-GEB Document 120 Filed 09/19/12 Page 3 of 3


 1
 2
                                          ORDER
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          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
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     ordered that the September 21, 2012, status conference hearing be
 5
     continued to October 19, 2012, at 9:00 a.m.          Based on the
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     representation of defense counsel and good cause appearing there from,
 7
     the Court hereby finds that the failure to grant a continuance in this
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     case would deny defense counsel reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence.           The
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     Court finds that the ends of justice to be served by granting a
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     continuance outweigh the best interests of the public and the defendant
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     in a speedy trial.      It is ordered that time up to and including the
13
     October 19, 2012 hearing shall be excluded from computation of time
14
     within which the trial of this matter must be commenced under the
15
     Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and
16
     Local Code T-4, to allow counsel reasonable time to prepare.
17
     Dated:    September 18, 2012
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19
                                          GARLAND E. BURRELL, JR.
20                                        Senior United States District Judge
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     Khalil - Stip. & Order                    3
